     CASE 0:13-cr-00273-SRN-DTS        Doc. 797    Filed 01/30/17   Page 1 of 5




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 13-00273 (SRN/FLN)

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )
                                           )
             v.                            )
                                           )
MORAN OZ (2);                              )                  ORDER
BABUBHAI PATEL (3);                        )
LACHLAN SCOTT MCCONNELL (6);               )
ELIAS KARKALAS (8);                        )
PRABHAKARA RAO TUMPATI (9);                )
                                           )
                   Defendants.             )
                                           )


Jacqueline Blaesi-Freed, Linda I. Marks, U.S. Department of Justice, Consumer
Protection Branch, 450 5th St. NW, Ste. 6400, Washington, DC 20001, and Roger J.
Gural, U.S. Department of Justice, Civil Division, P.O. Box 386, Washington, DC 20044,
for the United States of America.

Joseph S. Friedberg, Joseph S. Friedberg, Chartered, 701 4th Ave. S., Ste. 300,
Minneapolis, MN 55415, Robert D. Richman, P.O. Box 16643, St. Louis Park, MN
55416, for Defendant Moran Oz.

JaneAnne Murray, Murray Law LLC, 310 South Fourth Ave., Ste. 5010, Minneapolis,
MN 55415 for Defendant Babubhai Patel.

Marie Celine Pacyga and Ryan M. Pacyga, Pacyga and Associates, PA, 333 South
Seventh St., Ste. 2850, Minneapolis, MN 55402, for Defendant Lachlan Scott
McConnell.

Daniel L. Gerdts, 247 Third Ave. S., Minneapolis, MN 55415, John C. Brink, 310 4th
Ave. S., Ste. 1008, Minneapolis, MN 55415, for Defendant Elias Karkalas.

James E. Ostgard, Ostgard Law Office, P.O. Box 582536, Minneapolis, MN 55458, Paul
Daniel Schneck, Paul Daniel Schneck, LTD, 222 South 9th St., Ste. 1600, Minneapolis,
MN 55402, for Defendant Prabhakara Rao Tumpati.
      CASE 0:13-cr-00273-SRN-DTS         Doc. 797     Filed 01/30/17    Page 2 of 5




SUSAN RICHARD NELSON, United States District Judge

       This matter is before the Court on the Government’s Proposed Redacted

Indictment (“Proposed Indict.”) [Doc. No. 771] and Defendants’ Motion to Redact

Indictment To Go To Jury (“Defs.’ Mot. to Redact”) [Doc. No. 776]. For the reasons set

forth below, the Court defers ruling on what version, if any, of the Proposed Indictment

will go to the jury.

I.     BACKGROUND

       Defendants are charged with a variety of crimes related to their alleged

involvement with an online pharmacy, RX Limited. (See Indict. [Doc. No. 5].) These

five Defendants face over sixty individual counts that involve the Food, Drug, and

Cosmetic Act (“FDCA”), the Controlled Substances Act (“CSA”), mail and wire fraud,

conspiracy charges related to these statutes, and conspiracy to launder money. (See

Indict.; Proposed Indict.) However, not every Defendant is charged with each count, nor

even each category of crime. (See Indict.; Proposed Indict.) The number of Defendants,

the number and variety of counts, and the fact that trial is anticipated to take more than

six weeks, makes this case more complex than many others.

       The Government originally filed a motion in which it proposed removing

information about Defendants who are not part of this trial, eliminating reference to

counts which were previously dismissed, and correcting certain typos in the Indictment.

(See Doc. No. 704.) The Government asked that this “clean” or “streamlined” indictment




                                            2
      CASE 0:13-cr-00273-SRN-DTS          Doc. 797     Filed 01/30/17     Page 3 of 5




be provided to the jury. (See id. at 1, 3.) Defendants objected to any version of the

Indictment going to the jury. (See Doc. No. 727.)

      At the pretrial conference, the Court granted the Government’s motion in part,

ordered that the parties meet and confer about the content of a streamlined indictment,

directed that the Government submit a proposed streamlined indictment, and gave

Defendants the opportunity to object to its content. (See Court Minutes dated 1/10/2017

(“Court Minutes”) at ¶ 6 [Doc. No. 767].) The Government dutifully filed the Proposed

Indictment and Defendants filed their Motion to Redact, which included a redline version

of the Proposed Indictment showing Defendants’ suggested redactions. (See Doc. Nos.

776, 776-1, 776-2.) The Government filed a Response to Defendants’ Motion to Redact

Indictment (“Gov’t’s Resp.”) [Doc. No. 782].

II.   DISCUSSION

      It is within the discretion of a district court whether to provide the jury with a copy

of the indictment. United States v. Jorgensen, 144 F.3d 550, 563 (8th Cir. 1998); United

States v. Prange, 771 F.3d 17, 31–32 (1st Cir. 2014); United States v. Giampino, 680

F.2d 898, 901 n.3 (2d Cir. 1982); see United States v. Roy, 473 F.3d 1232, 1237 n.2

(D.C. Cir. 2007). Providing a jury with a copy of the indictment is the common practice

of this Court and many others. See Roy, 473 F.3d at 1237 n.2. This is especially true in

the case of complex trials involving numerous defendants and charges. See United States

v. Shellef, 732 F. Supp. 2d 42, 82 (E.D.N.Y. 2010) (“Given the number of counts in the

indictment and the complex scheme with which defendant was charged, it was

appropriate for the jury to have a copy of the Indictment in order to facilitate

                                             3
      CASE 0:13-cr-00273-SRN-DTS           Doc. 797     Filed 01/30/17     Page 4 of 5




deliberation.”). Juries are warned that an indictment is not evidence and should not be

considered as such. See Jorgensen, 144 F.3d at 563; Prange, 771 F.3d at 32; Model Crim.

Jury Instr. 8th Cir. §§ 1.01 (“You should understand that an indictment is simply an

accusation. It is not evidence of anything.”), 3.08 (“The Indictment is simply the

document that formally charges the defendants with the crimes for which they are on

trial. The Indictment is not evidence.”). Moreover, “the ‘better course’ is for the trial

court to redact the indictment ‘if the government has not presented evidence supporting

allegations in the indictment,’” before providing it to the jury. Jorgensen, 144 F.3d at

563 (quoting United States v. England, 966 F.2d 403, 408 (8th Cir. 1992)).

       The Court cannot presently determine which portions of the Proposed Indictment,

if any, will go to the jury. This will depend at least in part on what evidence is, or is not,

admitted at trial. For instance, the Proposed Indictment makes repeated reference to the

Verified Internet Pharmacy Practice Sites (“VIPPS”) program. (Proposed Indict. at 4,

11–13, 15.) The parties dispute whether and for what purpose evidence related to VIPPS

may be admitted. (See Doc. Nos. 708, 729.) The Court cannot make an admissibility

ruling on this evidence until trial. (See Court Minutes at ¶ 8.) If this evidence were

excluded, reference to it in the Proposed Indictment would be struck before giving the

Proposed Indictment to the jury. See Jorgensen, 144 F.3d at 563. Thus, the Court will

discuss the Proposed Indictment with the parties at the charging conference—after the

parties rest—and rule on these issues then.




                                              4
       CASE 0:13-cr-00273-SRN-DTS       Doc. 797     Filed 01/30/17   Page 5 of 5




III.   ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1. The Court DEFERS ruling on the Government’s Proposed Indictment [Doc.
          No. 771] and Defendants’ Motion to Redact Indictment To Go To Jury [Doc.
          No. 776] until the charging conference at trial.

       2. Defendants’ Opposition to Motion to Narrow Language of Indictment [Doc.
          No. 727] and the Government’s Response in Opposition to the Proposed
          Indictment [Doc. No. 782] are DENIED WITHOUT PREJUDICE and the
          parties may raise their objections and arguments again at the charging
          conference.


Dated: January 30, 2017                 s/ Susan Richard Nelson
                                        SUSAN RICHARD NELSON
                                        United States District Judge




                                           5
